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UNITED STATES DISTRICT COURT
DISTRICT OF SOUTH DAKOTA
NORTHERN DIVISON

DR. THOMAS ORR, 1:19-cv-01023-CBK
Plaintiff,

VS.
DEFENDANTS’ MOTION TO RELEASE
SOUTH DAKOTA BOARD OF REGENTS; JUDGMENT

MEMBERS OF THE SOUTH DAKOTA
BOARD OF REGENTS (in their official
capacities); DR. NEAL H. SCHNOOR (in his
official capacity); and FORMER NSU DEAN
OF EDUCATION, DR. KELLY DUNCAN (in
her individual capacity),

Defendants.

COMES NOW Defendants, South Dakota Board of Regents; Members of the South
Dakota Board of Regents (in their official capacities); NSU President Dr. Neal H. Schnoor (in
his official capacity); and Former NSU Dean of Education, Dr. Kelly Duncan (in her individual
capacity) (“Defendants”) by and through their undersigned attorneys, May, Adam, Gerdes &
Thompson LLP, pursuant to Fed. R. Civ. P. 60(b)(5), moves for an order that the judgment
entered in this case on July 25, 2023 has been satisfied, and is therefore released and discharged.
This motion is supported by the analysis contained in the accompanying “Memorandum in
Support of Defendant’s Motion to Release Judgment.”

WHEREFORE, Defendants respectfully pray that the Court enter an order that the

Judgment declaring the Judgment has been satisfied and releasing and discharging the Judgment.
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Dated this j2 day of March, 2024.

MAY, ADAM, GERDES & THOMPSON LLP

BY: ~~

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